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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 IN RE: CHICAGO BOARD OPTIONS                         Case No. 1:18-cv-04171
 EXCHANGE VOLATILITY INDEX
 MANIPULATION ANTITRUST                               MDL No. 2842
 LITIGATION
                                                      Honorable Manish S. Shah
 This Document Relates to All Actions



 NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANTS UNDER FED. R. CIV. P.
                           41(a)(1)(A)(i)


       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs and their

undersigned counsel hereby give notice that the claims against the "Doe Defendants" are

voluntarily dismissed without prejudice.

Dated: September 12, 2022



                                             Respectfully submitted,

                                                    /s/ Kimberly A. Justice

                                                    FREED KANNER LONDON &
                                                    MILLEN LLC
                                                    Kimberly A. Justice
                                                    923 Fayette Street
                                                    Conshohocken, Pennsylvania
                                                    Telephone: (610) 234-6771
                                                    Fax: (224) 632-4521
                                                    kjustice@fklmalw.com

                                                    QUINN EMANUEL URQUHART &
                                                    & SULLIVAN, LLP
                                                    Jonathan C. Bunge (Il. Bar #6202603)
                                                    191 N. Wacker Drive, Suite 2700
                                                    Chicago, Illinois 60606
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                                         Telephone: (312) 705 7400
                                         Fax: (312) 705 7401
                                         jonathanbunge@quinnemanuel.com

                                         Daniel L. Brockett (pro hac vice)
                                         Toby E. Futter (pro hac vice)
                                         51 Madison Avenue, 22nd Floor
                                         New York, New York 10010
                                         Telephone: (212) 849-7000
                                         Fax: (212) 849-7100
                                         danbrockett@quinnemanuel.com
                                         tobyfutter@quinnemanuel.com

                                         Jeremy D. Andersen (pro hac vice)
                                         865 South Figueroa Street, 10th Floor
                                         Los Angeles, California 90017
                                         Telephone: (213) 443-3000
                                         Fax: (213) 443-3100
                                         jeremyandersen@quinnemanuel.com

                                         KESSLER TOPAZ MELTZER &
                                         CHECK, LLP
                                         Sharan Nirmul (pro hac vice)
                                         280 King of Prussia Road
                                         Radnor, PA 19087
                                         Telephone: (610) 667-7706
                                         Fax: (610) 667-7056
                                         snirmul@ktmc.com
